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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



AARON RICH
                      Plaintiff,                Civil Action No. 1:18-cv-00681-RJL
    v.                                          Hon. Richard J. Leon
EDWARD BUTOWSKY,
MATTHEW COUCH, and
AMERICA FIRST MEDIA

                      Defendants.




                     PLAINTIFF’S RESPONSE TO
      DEFENDANTS’ NOTICE OF OUTSTANDING DISCOVERY REQUESTS




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         This litigation has been pending for more than two years, and discovery—which already

has been extended once1—has been active for third parties for nearly two years2 and for parties for

more than a year since the Court denied Defendants’ motions to dismiss.3 The Court has made

clear that discovery is now closed, with possible limited exceptions that the Court permits for good

cause.4 On March 20, 2020, the Court instructed the parties to submit a list of outstanding

discovery that the parties wish to pursue notwithstanding the close of discovery, having instructed

the parties to be judicious about any requests for discovery beyond the end of March.5 Plaintiff

identified a handful of depositions and outstanding document requests, all of which have been

served but which Plaintiff, for good cause, has been unable to complete.6 Defendants have taken

a radically different approach by requesting that this Court effectively authorize another discovery

period to begin whenever the current stay lifts. The audacity of that request in the face of this

Court’s admonition, along with certain knowingly-false and misleading representations made by

counsel for Defendants, necessitates this response.




1
    See Dkt. 151.
2
    See Dkt. 18 (Rule 26(f) Report).
3
    See 03/29/2019 Minute Order.
4
    See Dkt. 169.
5
    See Dkt 173.
6
  See Dkt. 174. Plaintiff has identified two depositions (Zimmerman and Housley) that were the
subject of recently denied motions for protective orders; two depositions (Couch and Johnson) that
could not be completed because Defendants’ counsel improperly instructed witnesses not to
answer questions; and one deposition (Defendant Butowsky) that has not been taken because the
witness has claimed disability. Plaintiff also has identified a limited number of document requests
that have been served but remain outstanding. For example, Defendant Butowsky did not produce
documents until March 16, 2020, and Plaintiff has an outstanding motion to compel Defendant
Couch to produce documents from Flock.

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       Defendants continue to behave as they have throughout this litigation: having waited until

the last minute to seek discovery that could have been sought months or years ago,7 Defendants

now blame others and make excuses for their delay, make empty promises about forthcoming

“evidence” to support their outlandish conspiracy theories about Plaintiff, and demand that this

Court grant them more time to get the evidence that has eluded them to date. Defendants now ask

this Court to authorize discovery from nearly three dozen parties, including unidentified “sources”

within the Intelligence Community, the former U.K. ambassador to Uzbekistan, and the girlfriend

of the roommate of Plaintiff’s murdered brother. All told, in addition to the discovery Defendants

have already taken, they now are asking the Court for permission to take twelve depositions, serve

or otherwise pursue thirty-four third-party subpoenas, and continue to pursue over one-hundred

document requests that they have served on Plaintiff—all of which could have and should have

been done before the close of discovery.8 Defendants are, in effect, asking the Court to treat March

27, 2020, as the beginning, not the end of discovery.

       The Court should not tolerate Defendants’ latest effort to avoid responsibility for the

strategic choices they have made throughout this case. Rather than permit the Defendants to

enlarge the scope of discovery, the Court should hold both parties to the same reasonable standard–

any discovery from this point forward should be limited to subpoenas that have been properly

noticed and served absent a concrete demonstration of exigency and necessity. Plaintiff Aaron

Rich and his counsel already have invested substantial time, effort, and resources to timely



7
 For example, on the day his Notice was due, Defendants’ counsel issued five notices of intent to
serve third-party subpoenas, and he served Plaintiff with nine additional document requests.
8
  All of the requests for production that the Defendants have served on Plaintiff are attached as
Exhibit A. The Defendants’ last-served notices of intent to serve third-party subpoenas that are
relevant to this response are attached as Exhibit B.
                                                     2
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complete discovery, including out-of-pocket costs exceeding $200,000 in discovery-related costs,

including to comply with Defendants’ discovery demands. If the “evidence” Defendants now seek

truly were as “critical” or “central” to this case as Defendants claim, Defendants could and should

have pursued that evidence at some point in the past year.

       In particular, Defendants should not be allowed to pursue discovery against third parties

that they have known about since 2017. There is no excuse—none—for Defendants’ having

delayed efforts to locate and serve these parties until 2020. Indeed, it is grossly misleading for

Mr. Quainton to assert that Defendant Butowsky’s medical condition made it impossible for

Defendants to serve third parties such as the Federal Bureau of Investigations (“FBI”), the

Democratic National Committee (“DNC”), Crowdstrike, and various members of the Metropolitan

Police Department (“MPD”) prior to this point. Defendant Butowsky has known about these

entities since before this case was filed, and his medical condition did not prevent him from serving

subpoenas on three of these four entities in his affirmative litigation in Texas.9 Permitting

Defendants to serve subpoenas they have waited until the very end of discovery to even notice and

on parties who will undoubtedly litigate the subpoenas (such as the DNC, Ms. Brazile, Ms. Ratner,

Crowdstrike), will reward Defendants and prejudice Plaintiff by creating more delay and a de facto

extension of discovery—indeed, litigation that begins only now over such subpoenas would likely

drag discovery in this case well into 2021.




9
  Ty Clevenger, “Subpoenas issued for FBI, Crowdstrike, and DNC records on ‘Russian hacking’
and Seth Rich,” LawFlog (July 2, 2019), available online at http://lawflog.com/?p=2177 (“This
afternoon I issued subpoenas to the FBI, CrowdStrike, and the Democratic National Committee
for their records on murdered DNC employee Seth Rich. The subpoenas further demand all
evidence that Russian hackers were responsible for obtaining DNC emails in 2016 that were later
published by Wikileaks.”).
                                                   3
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          Defendants engage in a blame game to justify this massive expansion of discovery,

including making a series of accusations

                                                     . Those accusations are false and misleading,

as will be explained further below, and completely ignore that Defendants’ did nothing to pursue

discovery from Plaintiff for months. Indeed, the irony of Defendants’ accusations regarding

deficiencies is that for many of the allegations referenced in the Notice, this is the first and only

time that Defendants have identified these alleged issues—Defendants to date have not filed a

single motion relating to any discovery deficiency. In any event, the reason Defendants still do

not have a shred of evidence showing that Plaintiff was involved in stealing or selling the DNC

emails to WikiLeaks is not due to a lack of time to find it, it is because no such evidence exists,

and no amount of additional discovery will change that fact.

A.        Defendants’ Proposed Depositions

          The Court has already ruled that Defendant Butowsky could take up to five depositions

and that Defendant Couch could take the depositions of Kelsey Mulka (Plaintiff’s brother’s

girlfriend who now has been deposed), Joe Capone (the former owner of Lou’s City Bar), and

Detective Joseph Della Camera.10 Defendants are now trying to re-litigate those rulings and re-

open discovery, asking for permission to take twelve depositions after the stay lifts. In addition to

the depositions Defendants have already taken, Defendants are now asking to take additional third-

party depositions that consist of:

          •   One party whose deposition the Court already has rejected (Donna Brazile);11

10
     See Dkt. 151.
11
  See Dkt. 142 (Defendants’ request to take these depositions); Dkt. 151 (Court’s order rejecting
request).

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          •   Eight parties whom Defendants do not appear to have served with deposition subpoenas
              despite having had nearly a year to do so (Joseph Della Camera,12 Ellen Ratner,
              Cassandra Fairbanks, Warren Flood, Craig Murray, KimDotCom, Deborah Sines, and
              Donna Brazile), and all of whom (except Mr. Flood) appeared on one of the parties’
              initial disclosures;13

          •   Four parties for whom Defendants have not even served a notice of their intention to
              serve a deposition subpoena, much less the subpoena itself (Warren Flood, Craig
              Murray, KimDotCom, and Deborah Sines, the last of whom has already been deposed
              by Defendant Butowsky in his ongoing and overlapping litigation against National
              Public Radio in Texas);

          •   One party who was not listed on any parties’ initial disclosures and whom Defendants
              never previously mentioned as being potential witnesses (Warren Flood); and

          •   A party whose deposition was already taken, with a transcript and video both having
              been made available to Defendants, via Rule 31 (Ellen Ratner), but whom Defendants’
              counsel wishes to re-depose because he declined to submit his own questions pursuant
              to Rule 31 and belatedly discovered that he did not like the testimony that Ms. Ratner
              provided.14 Counsel for Ms. Ratner has objected repeatedly to Mr. Quainton’s
              characterizations and stated need for this deposition, including in a letter that is attached
              to this filing as Exhibit C.15
12
  Defendants inexplicably have not served a deposition subpoena to Detective Della Camera, and
had the audacity to blame this failure on a purported attempt to evade service, despite the
Metropolitan Police Department’s publicly available procedures for doing so.               See
https://go.mpdconline.com/GO/GO_701_04.pdf.
13
  For each of these parties, Defendants either state that they have not served deposition subpoenas
or Defendants do not say one way or another whether they have served deposition subpoenas.
14
     See Dkt. 165 at 6-7.
15
   It is worth recalling with respect to Defendant Butowsky’s claims regarding Ms. Ratner that
Defendant Butowsky initially peddled a fabricated version of what he claims Ms. Ratner told him,
in his first version, claiming that Ms. Ratner told him that Julian Assange told her that Aaron Rich
was involved in transferring documents from the DNC to WikiLeaks. See e.g., Beowolf, “Ex-Fox
News Commentator Reveals Source For Claims That Seth Rich Sold DNC Emails To Wikileaks”
RickUngarshow.com (July 10, 2019), available online at https://www.rickungarshow.com/ex-fox-
news-commentator-reveals-source-for-claims-that-seth-rich-sold-dnc-emails-to-wikileaks/.
Defendant Butowsky was sufficiently committed to that version of events that he included the
allegation in an amended Complaint he filed against Michael Gottlieb, Meryl Governski, Boies
Schiller Flexner LLP, and others, in the Eastern District of Texas. Edward Butowsky v. Michael
Gottlieb, et al., Case No. 4:19-cv-00180 (E.D.Tex.) (Dkt. No. 62). Later, apparently upon realizing
that this version of events was not truthful, the same lawyer who has now accused this Court of

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       Thus, Defendants have identified only two third-party depositions (Joe Capone and Brad

Bauman) that they previously had the Court’s permission to take and for which they appear to have

served deposition subpoenas prior to the close of discovery. Plaintiff does not object to Defendants

being permitted to take those depositions, along with Plaintiff’s deposition, after the stay lifts. But

Plaintiff does not believe that Defendants have justified delaying the close of discovery in this case

for another 6-12 months so that they may belatedly pursue discovery that they could and should

have pursued months or years ago.

B.     Defendants’ Proposed Third-Party Document Subpoenas

       Defendants have provided a sweeping list of thirty-five third-party document subpoenas

that they wish to pursue notwithstanding the close of discovery.16 The third-party document

subpoenas on Defendants list consist of:

       •   Twenty-three parties whom Defendants do not appear to have served document
           subpoenas, despite having had nearly a year to do so (Cathy Lanier, the Metropolitan
           Police Department, Pratt Wiley, Amy Dacey, Dov Friedman, Michael Cass Anthony,
           Elissa Nadworny, Eric Baker, Reddit, Antoine Weston, Andrew Theriault,
           Crowdstrike, the Democratic National Committee, the Federal Bureau of Investigation,

judicial misconduct, see http://lawflog.com/wp-content/uploads/2020/03/2020.03.31-Judicial-
misconduct-complaint-form-merged.pdf, averred that the error in including this allegation was his
rather than a falsehood spread by his client. See Ty Clevenger, “Correction: Ellen Ratner only
relayed information about Seth Rich, according to Butowsky,” LawFlog (July 29, 2019), available
online at http://lawflog.com/?p=2248. That allegation was and remains incredible given that
Defendant Butowsky, prior to filing his false complaint, gave a public interview in which he made
precisely the same allegation. Beowolf, “Ex-Fox News Commentator Reveals Source For Claims
That Seth Rich Sold DNC Emails To Wikileaks” RickUngarShow.com (July 10, 2019), available
online at https://www.rickungarshow.com/ex-fox-news-commentator-reveals-source-for-claims-
that-seth-rich-sold-dnc-emails-to-wikileaks/. In any event, all of the above speaks to whether
Defendant Butowsky should be given the benefit of the doubt in belatedly pursuing discovery
relating to these theories—and the obvious implication of his ever shifting versions of the truth is
that he is owed no further length of leash.
16
  This list consists of 24 third-party document subpoenas plus 11 subpoenas for documents and
depositions.
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           the National Security Agency, Joseph Della Camera, Ellen Ratner, Cassandra
           Fairbanks, Warren Flood, Craig Murray, KimDotCom, Deborah Sines, and the
           Freedom of the Press Foundation);

       •   Five parties for whom Defendants have not even served a notice of their intention to
           serve a document subpoena, much less the subpoena itself (Warren Flood, Craig
           Murray, KimDotCom, Deborah Sines, and Andrew Theriault);

       •   Nine parties for whom Defendants waited until after the Court’s March 20 order to
           serve notices of their intention to serve document subpoenas on (Google, eBay,
           Verizon, AT&T, Crowdstrike, the DNC, the FBI, the NSA, the Freedom of the Press
           Foundation);

       •   Seven parties whose only apparent relevance to this case is that they may have been
           Plaintiff’s brother’s roommates or co-worker or, in one case, the girlfriend of a
           roommate of Plaintiff’s brother (Dov Friedman; Michael Cass Antony; Elissa
           Nadworny; Eric Baker; Pratt Wiley; Amy Dacey; and Andrew Theriault); and

       •   Nineteen parties who were not listed on any party’s initial disclosures (Reddit, Google,
           eBay, Dov Friedman; Michael Cass Antony; Elissa Nadworny; Eric Baker; Antoine
           Weston; Cathy Lanier; Amy Dacey; AOL; Verizon; AT&T; DNC; FBI; NSA; Freedom
           of the Press Foundation; Andrew Theriault; and Warren Flood).

       The Defendants waited until March 27, 2020 to notice five subpoenas, including to

Crowdstrike, the DNC, the FBI, and the NSA, which include anywhere from nine to twenty-three

separate demands, many of which seek to disprove that Russia hacked the DNC. For example, the

Defendants demand the DNC produce “for inspection the actual servers that were breached,”

“mirror image(s) of the disks that were breached,” “all documents, communication, records, or

other evidence regarding the 2016 Data Breach,” and “all metadata” indicating whether the DNC

hack was the result of “outside forces (e.g., Russian agents, Pakistani agents, etc.)” or an inside

job. The Defendants do not, nor could they, explain why they waited until the last day of discovery

to notice documents requests they now call “highly relevant” and “critical,” or explain why the

Court should permit them to use its power to seek to disprove the conclusions of the Intelligence

Community by burdening third parties with overbroad subpoenas that will undoubtedly lead to

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motions practice costing thousands, if not millions, of dollars with which to comply. These

subpoenas, both by virtue of the parties they are served upon and the fishing expedition in which

they attempt to engage, will embroil this Court in months of motions practice.

       Defendants seek to justify this discovery on the argument that Plaintiff has “maintained it

is a baseless conspiracy theory to question the claim of certain elements of the U.S. intelligence

community that the DNC emails at issue were hacked by Russian military intelligence and

transmitted to a shadowy figure known as Guccifer 2.0.” Notice at 2. There is no claim for liability

anywhere in Plaintiff’s Complaint that relies upon this argument. Plaintiff has not sued Defendants

for questioning Russia’s role in the hack of the DNC—instead, Aaron (not Seth) Rich has sued

Defendants for making false statements of and concerning his (not his brother’s) alleged

involvement in activities about which Defendants had then, and have now, zero evidence. Indeed,

not a single one of the critical witnesses identified by Defendants, whether Seymour Hersh, Ellen

Ratner, or Kim Dotcom, ever so much as mentioned Aaron Rich—rather, the genesis for the theory

that Aaron Rich had involvement in this alleged conspiracy was Defendant Butowsky, aided by

Defendant Couch. See infra, at 11-13. The question whether the DNC was hacked by Russian

intelligence, or whether a so-called “deep state” misled the American public about the predicates

for investigating the Trump Campaign, are sideshows that have no bearing on what Defendants

knew about Aaron (not Seth) Rich when they took to television, social media, and other

publications to accuse Aaron (not Seth) Rich of engaging in criminal and other wrongdoing. This

Court should not indulge Defendants’ Counsel’s efforts to transform this defamation case into a

private commission into Russian involvement in the 2016 election and other theories regarding the

deep state.



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C.     Defendants’ Proposed Document Discovery of Plaintiff

       Plaintiff timely has responded to all of Defendants’ document requests and interrogatories,

and he and his counsel diligently searched for, reviewed, and produced thousands of documents.

Even prior to the Court’s February 5, 2020 order granting Defendants’ request for an extension of

the discovery deadline, Plaintiff’s counsel had incurred nearly $200,000 solely in costs related to

discovery, including by hiring a discovery vendor to assist in responding to forty-nine document

requests from Defendants. Notably, Defendants have not identified a single deficiency in

Plaintiff’s responses that has required them to file a motion to compel.

       Since the Court granted an extension of discovery on February 5, 2020, Defendants have

served an additional fifty-six document requests to Plaintiff, and Plaintiff and his counsel are

incurring additional costs and fees to respond to those requests.17 While Defendants use their latest

filing to raise purported complaints about some of Plaintiff’s document productions, they neglect

to inform the Court that the deadline for Plaintiff to respond to several of those document requests

has not even arrived yet because Defendants waited until the last minute to serve their requests. If

Defendants believe there is a deficiency in Plaintiff’s productions (which there is not), then the

appropriate course is for Defendants’ counsel to meet-and-confer with Plaintiff’s counsel about

the issue to try to resolve it. Apart from that, Plaintiff objects to the extent that Defendant has

abused the Notice requested by this Court as an opportunity to present unripe issues before counsel



17
  Defendant Butowsky represents to have served only five sets of RFPs, but he has served six sets:
30 Requests in his First Set on November 15, 2019; 13 Requests in his Second Set RFPs on
February 20, 2020; 13 Requests in his Third Set of RFPs on February 24, 2020; 12 Requests in his
Fourth Set of RFPs on February 28, 2020; nine Requests in what he named his Fourth Set of RFPs
on March 13, 2020; and an additional nine Requests in what he named his Fifth Set of RFPs on
March 27, 2020.

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has had the opportunity to address them, as well as to misrepresent facts relating to alleged email

accounts on the basis of inaccurate (or no) evidence.

D.        Defendants’ Arguments on the Merits

          Defendants’ Notice is replete with facially bogus assertions and fantastical speculations

about Plaintiff,18 blatant misrepresentations about what the evidence in this case shows, and even

an inaccurate statement of the applicable law.19 Plaintiff’s counsel does not understand the Court

to have solicited such briefing on the legal or factual merits at this time and will not here address

each of the myriad inaccurate factual claims made in Defendants’ filing, though Plaintiff does

reserve the right to respond in full, inter alia, to allegations regarding discovery deficiencies, the

appropriate legal standard to be applied to Plaintiff’s claims, and the sufficiency of the evidence

supporting those claims at the appropriate time. However, Plaintiff respectfully offers one

response to a particularly hyperbolic accusation now.

          Defendants use their Notice to sketch out what appears to be their core defense for trial—

namely, the “I know you are but what am I defense.” Specifically, Defendants’ theory of the case

is that they did not defame Aaron Rich by accusing him (with no evidence) of having participated

in a conspiracy with his brother to steal DNC documents and sell them to WikiLeaks; instead, it is

Plaintiff that has engaged in a “wildly implausible conspiracy theory” that is “utterly devoid of

any factual underpinnings” and is


18
   Running through much of Defendants’ filing is the notion that Plaintiff—along with law
enforcement, the Intelligence Community, journalists, and various third-parties—must be hiding
“evidence” of Plaintiff’s alleged involvement in the leak of DNC documents because no such
evidence has been produced in response to Defendants’ many discovery requests. But the reason
no such evidence has been produced is because it does not exist.
19
     See Dkt. 174-1 at 1-2 (setting forth proposed legal standard for defamation claims).

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               ”20 To be clear, the evidence offered by Defendants to date showing that Aaron Rich

conspired with his murdered brother to steal DNC documents and sell them to WikiLeaks is

nonexistent. By contrast, the evidence showing that Defendants conspired to spread falsehoods

about Plaintiff includes sworn testimony in this case stating that Defendant Butowsky convened a

September 2017 meeting at his house with Defendant Couch and a group that described itself as a

“private militia,” during which the parties discussed a surveillance operation designed to discredit

Plaintiff and his family.21 It includes sworn testimony that Defendant Butowsky



                                                            .22

          Perhaps most importantly, and egregiously from the perspective of Defendants’ claim,

Plaintiff’s counsel has only recently received audio recordings—which Defendant Couch




20
     Dkt. 174-1 at 3.
21
     See Dkt. 83; Dkt. 83-4.
22
     Ex. E at 171:11-174:14; 186:24-189:7.
                                                    11
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                              23


          Pages upon pages of text messages



                                           24
                                                In fact, Defendant Couch has stated in this litigation

that Defendant Butowsky was his only source for the allegations he has made against Plaintiff.25

Shortly after Defendants’ collaboration began, Defendant Butowsky           Defendant Couch.26 And

Defendant Couch publicly has stated that he spoke with Defendant Butowsky three times on the

day that The Washington Times article was published to vindicate his team.27 Notwithstanding

Defendants’ new approach of name calling, this is not “wildly implausible conspiracy theory”

“utterly devoid of any factual underpinnings.” Quite the opposite.



          Dated: April 10, 2020

                                                   /s/ Michael J. Gottlieb__________
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23
     Ex. D at 3:10-4:8; 28:23-30:18; 53:14-54:9 (all emphases added).
24
     See, e.g. Dkt. 117 at Exhibit 1



25
     See Dkt. 71-4.
26
     Dkt. 96 at Exhibit 4 at …033-36; id. at Exhibit 7 at 391:21-392:5.
27
   Matt Couch, America First Media LIVE #SethRich #Mueller #KimDotcom #EdButowsky,
Periscope (Mar. 3, 2018), https://www.pscp.tv/RealMattCouch/1mrGmRDaYXDJy at 21:30-
21:50, 49:30-50:04.
                                                       13
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                               CERTIFICATE OF SERVICE


       The undersigned counsel certifies that on April 10, 2020, the foregoing document was filed

through the CM/ECF system and thereby served electronically on counsel for Defendant Edward

Butowsky and Matthew Couch. A courtesy copy of the foregoing document also was emailed to

their counsel, Eden Quainton, at equainton@gmail.com. Mr. Quainton has agreed to convey served

and filed documents to Defendant America First Media through Defendant Couch as necessary.

Dated: April 10, 2020

                                            /s/ Michael J. Gottlieb__________
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                                                  15
